                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                          )
                                                   )           1:10-CR-34
 v.                                                )
                                                   )           Collier/Carter
 LEVAR WILLIAMS                                    )

                                      MEMORANDUM

        Defendant Levar Williams (“Defendant”) moved to suppress evidence from intercepted wire

 communications (Court File No. 330). This motion was referred to United States Magistrate Judge

 William B. Mitchell Carter, who subsequently filed a report & recommendation (“R&R”),

 recommending Defendant’s motion be denied (Court File No. 357). Defendant filed an objection

 (Court File No. 362), and the government responded (Court File No. 372). For the following

 reasons, the Court will ACCEPT and ADOPT the R&R (Court File No. 357). Accordingly,

 Defendant’s motion to suppress will be DENIED (Court File No. 330).



 I.     RELEVANT FACTS

        There are no relevant facts in dispute here. On December 23, 2009, United States District

 Judge Harry S. Mattice, Jr. signed a wiretap order approving interception of wire and electronic

 communications. Special Agent Frank C. Ledford of the Drug Enforcement Administration

 (“DEA”) gave the affidavit used to obtain the wiretap at issue. The affidavit stated that SA Ledford

 and other law enforcement officers from the DEA and the Cleveland Police Department had been

 conducting an investigation into a large scale drug trafficking organization based in Bradley County,

 Tennessee, involving Defendant. The affidavit identified Defendant as a distributor and source of

 supply for distributors in Bradley County.




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        Some of the information in the affidavit came from Sammy McNelly, a former agent with

 the 10th Judicial Drug Task Force. Concerning McNelly, SA Ledford stated:

        Sammy McNelly had originally prepared an affidavit for the interception of wire and
        electronic communications in this case. He was recently terminated from his
        employment with the Tenth Judicial Drug Task Force, which disqualified him from
        further participation as a DEA Task Force officer. My understanding is that he was
        terminated for causing “dissension” within the Tenth Judicial Drug Task Force and
        for improper use of a Task Force-issued cell phone. I do not have reason to believe
        that McNelly has been dishonest or committed a crime. At this writing, McNelly is
        appealing the decision to terminate his employment. McNelly was the DEA “case
        agent” for the investigation discussed herein and I have relied extensively on
        information provided by him for this affidavit. In my opinion, the integrity of all
        aspects of the investigation, including the matters discussed in this affidavit, is
        sound.

 (Court File No. 352-1, p. 4 n.1).

        Information obtained through use of the wiretap obtained via SA Ledford’s affidavit

 implicated Defendant in drug trafficking.



 II.    STANDARD OF REVIEW

        This Court must conduct a de novo review of those portions of the R&R to which objection

 is made, 28 U.S.C. § 636(b)(1)(C). But de novo review does not require the district court rehear

 witnesses whose testimony has been evaluated by the Magistrate Judge. See United States v.

 Raddatz, 447 U.S. 667, 675-76 (1980). The Magistrate Judge, as the factfinder, had the opportunity

 to observe and hear the witnesses and assess their demeanor, putting her in the best position to

 determine credibility. Moss v. Hofbauer, 286 F.3d 851, 868 (6th Cir. 2002); United States v. Hill,

 195 F.3d 258, 264 (6th Cir. 1999). The Magistrate Judge’s assessment of witnesses’ testimony is

 therefore entitled to deference. United States v. Irorere, 69 F. App’x 231, 236 (6th Cir. 2003).




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 III.   DISCUSSION

        Defendant’s objections to the R&R essentially repeat his basic arguments on the motion to

 suppress: 1) the wiretap affidavit fails to establish the “necessity requirement” for wiretaps under

 Title III of the Omnibus Crime Control and Safe Streets Act of 1968, 18 U.S.C. § 2518 (“Title III”);

 and 2) the affidavit was based on insufficient or unreliable evidence, namely, evidence obtained

 through reliance on McNelly.

 A.     Necessity

        Title III requires “a full and complete statement as to whether or not other investigative

 procedures have been tried and failed or why they reasonably appear to be unlikely to succeed if

 tried or to be too dangerous.” United States v. Stewart, 306 F.3d 295, 304 (6th Cir. 2002) (quoting

 18 U.S.C. § 2518(1)(c)). This “necessity requirement” exists “to ensure that a wiretap ‘is not

 resorted to in situations where traditional investigative techniques would suffice to expose the

 crime.’” United States v. Rice, 478 F.3d 704, 710 (6th Cir. 2007) (quoting United States v. Alfano,

 838 F.2d 158, 163 (6th Cir. 1988)). The requirement “protects against the impermissible use of a

 wiretap as the ‘initial step in [a] criminal investigation.’” Id. (quoting United States v. Giordano,

 416 U.S. 505, 515 (1974)).

        The necessity requirement does not require the government “to prove that every other

 conceivable method has been tried and failed or that all avenues of investigation have been

 exhausted.” Alfano, 838 F.2d at 163. Instead, “[a]ll that is required is that the investigators give

 serious consideration to the non-wiretap techniques prior to applying for wiretap authority and that

 the court be informed of the reasons for the investigators’ belief that such non-wiretap techniques

 have been or will likely be inadequate.” United States v. Lambert, 771 F.2d 83, 91 (6th Cir. 1985).


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 In making this determination, a court “may properly take into account affirmations which are

 founded in part upon the experience of specially trained agents,” as long as the allegations in the

 affidavit contain some factual relation to the circumstances at hand. United States v. Ashley, 876

 F.2d 1069, 1072 (1st Cir. 1989); accord United States v. Landmesser, 553 F.2d 17, 20 (6th Cir.

 1977).

          The Sixth Circuit has recognized that wiretaps may be uniquely valuable in investigating

 telephone-dependent criminal conspiracies:

          [T]he mere fact that some investigative techniques were successful in uncovering
          evidence of wrongdoing does not mandate that a court negate the need for wiretap
          surveillance. We have previously recognized that “wiretapping is particularly
          appropriate when the telephone is routinely relied on to conduct the criminal
          enterprise under investigation.”

 United States v. Stewart, 306 F.3d 295, 305 (6th Cir. 2002) (quoting United States v. Landmesser,

 553 F.2d 17, 20 (6th Cir. 1977).

          Defendant attacks the Magistrate Judge’s finding of necessity by recounting the many pre-

 wiretap successes of the investigation. Specifically, he points out that through controlled purchases,

 recorded conversations, and surveillance of Defendant and suspected suppliers, the government had

 already built a viable case against Defendant prior to seeking a wiretap order. Because the

 government could have prosecuted Defendant without a wiretap, Defendant argues the wiretap was

 literally not “necessary.”

          However, as the Magistrate Judge properly recognized, the pre-wiretap viability of a case

 against a defendant does not foreclose the possibility of properly obtaining a wiretap order. The

 “necessity for the wiretap is evaluated in light of the government’s need not merely to collect some

 evidence, but to develop an effective case against those involved in the conspiracy.” United States


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 v. Decoud, 456 F.3d 996, 1007 (9th Cir. 2006).

        Here, the 63-page affidavit plainly and plausibly described proper investigatory ends which

 could not be reasonably furthered simply through the traditional investigatory techniques employed

 to date. The R&R quotes these sections at length, and they will not be repeated here. Briefly,

 however, the affidavit emphasized that a wiretap was the only mechanism with a reasonable

 likelihood of identifying Defendant’s entire drug trafficking organization. While controlled

 purchases had implicated Defendant as a distributor, and traditional surveillance had identified

 several possible suppliers, the affidavit stated officers were unsure of many of the specifics of the

 trafficking network, such as where stash houses were located and precisely who supplied Defendant.

 The affidavit further revealed that officers did not aim simply at prosecuting Defendant, but at

 making prosecutable cases against Defendant, his co-conspirators, and his suppliers, some of whom

 the government had not been able to positively identify through traditional means. In short, while

 traditional techniques, such as the use of confidential informants, surveillance, and interviews with

 associates, were able to uncover much of the street-level criminal activity of the conspiracy, they

 were not able to peer into the higher-order operational interactions between Defendant and his co-

 conspirators and suppliers.1 Defendant’s objection ignores this reality insofar as it stresses law

 enforcement officials could have arrested and prosecuted Defendant well before seeking the

 wiretap.



        1
          The Court notes that the results of the wiretap bear this out. As the Magistrate Judge noted,
 and Defendant does not contest: prior to the wiretap there was no case against one of the
 Defendant’s sources, named co-defendant Demetrius Byrd; the wiretap established the absence of
 viable cases against others presumed to have been Defendant’s suppliers; and the wiretap established
 that the amounts of drugs Defendant obtained and distributed were actually less than what had been
 presumed based upon the pre-wiretap investigation.

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         The affidavit makes clear officers did not impermissibly “use [] a wiretap as the initial step

 in [a] criminal investigation” in this case. Rice, 478 F.3d at 710. Instead, the officers sought a

 wiretap only after “giv[ing] serious consideration to” – and indeed, employing – “non-wiretap

 techniques,” Lambert, 771 F.2d at 91, and thereafter determining such techniques would not

 reasonably “suffice to expose the [entire] crime.” Rice, 478 F.3d at 710. The Court thus finds the

 affidavit adequately addresses the necessity requirement of Title III, and Defendant’s objection

 therefore fails.

 B.      SA Ledford’s Reliance on McNelly

         Defendant also objects to the Magistrate Judge’s finding SA Ledford was justified in relying

 upon information provided him by McNelly when drafting the affidavit. In Defendant’s view, the

 fact McNelly had been fired implicates his reliability, and made it reckless for SA Ledford to rely

 on information provided by him.

         Although Defendant does not put it this way, his argument is essentially that McNelly’s

 unreliability means there was not probable cause for the wiretap to issue.    Under Sixth Circuit law,

 “[t]he basic standards for a wiretap are similar to those for a search warrant, but there also must be

 strict compliance with Title III . . . .” Alfano, 838 F.2d at 161. Alfano provided the standard for

 determining probable cause under Title III:

         [T]here is no specific formula that must be met for a warrant, and that evidence must
         be judged on the totality of the circumstances and in a reasonable and common sense
         manner. Illinois v. Gates, 462 U.S. 213, 238 (1983). Under this standard, the
         question that must be decided in issuing a warrant is whether there is probable cause
         to believe that evidence of a crime will be uncovered.

 Id. at 161–62. That is, there must be a “fair probability,” but more than a “mere suspicion,” that a

 wiretap will discover particular evidence of a crime. Id. at 162. Additionally, because “the issuing


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 judge is in the best position to determine all of the circumstances in the light in which they may

 appear at the time, ‘great deference’ is normally paid to the determination of an issuing judge.” Id.;

 accord United States v. Corrado, 227 F.3d 528, 539 (6th Cir. 2000).

        Information contained in an affidavit “need not reflect the direct personal observations of

 a law enforcement official and may be based on . . . hearsay, so long as the issuing judicial officer

 is reasonably assured that the informant was credible and the information reliable.” United States

 v. Williams, 224 F.3d 530, 532 (2000). The issuing judicial officer must be able to “conclude from

 the totality of the circumstances, ‘including the ‘veracity’ and ‘basis’ of knowledge of persons

 supplying hearsay information, [that] there is a fair probability that contraband or evidence of a

 crime will be found.’” Id. (quoting Illinois v. Gates, 462 U.S. 213, 238 (1983)).

        Here, Defendant argues SA Ledford could not reasonably rely on McNelly in constructing

 the affidavit since McNelly had been fired. Hence, suggests Defendant, the affidavit failed to

 establish probable cause. This argument is unavailing. Defendant has produced no information

 indicating McNelly was untruthful, unreliable, or otherwise lacked credibility, and he has identified

 no falsehoods in the affidavit. SA Ledford’s affidavit indicated his understanding McNelly had been

 terminated for causing “dissension,” and for improper use of his work cell phone.2 There is simply

 no reason to think McNelly’s termination for cell phone abuse and general contentiousness meant

 it was unreasonable for SA Ledford to rely on McNelly to provide accurate information on a case

 McNelly had been investigating. To conclude otherwise would be an exercise of pure speculation.


        2
          Defendant has submitted McNelly’s termination documents, which SA Ledford had
 apparently not seen when he drafted the affidavit. These documents show SA Ledford’s
 understanding of McNelly’s termination was essentially correct: McNelly was terminated, in large
 part, because he persistently used his work cell phone for private commercial purposes (even listing
 its number on billboards), and also because he stirred up dissension regarding others’ promotions.

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        Moreover, Defendant himself acknowledges the numerous controlled purchases and other

 investigative activity undergirding the government’s application for a wiretap. Indeed, when

 arguing the affidavit did not establish a wiretap was “necessary,” Defendant recites the significant

 evidence, as stated in the affidavit, which could have supported pre-wiretap prosecution against

 Defendant. Yet this very evidence, which included controlled purchases, observations of Defendant

 with suspected suppliers, and recorded conversations, supported the conclusion that a wiretap would

 probably reveal evidence of a drug trafficking conspiracy.3 Put simply, the description of prior

 investigative activity in the affidavit provided ample probable cause for the issuance of a wiretap,

 which McNelly’s unrelated termination did not undermine.



 IV.    CONCLUSION

        After reviewing the record, the Court finds the Magistrate Judge properly concluded the

 affidavit supporting the wiretap established the necessity of the wiretap, and there was probable

 cause for the wiretap, SA Ledford’s reliance on McNelly notwithstanding. As such, the wiretap

 order was properly issued. Accordingly, the Court will ACCEPT and ADOPT the R&R (Court File

 No. 357). Defendant’s motion to suppress will be DENIED (Court File No. 330).

        An Order shall enter.

                                               /s/
                                               CURTIS L. COLLIER
                                               CHIEF UNITED STATES DISTRICT JUDGE




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         Incidentally, SA Ledford’s affidavit reveals he independently reviewed audio recordings
 of controlled transactions involving Defendant, as well as extensive pen register records which
 suggested Defendant was using his phone in furtherance of drug trafficking.

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